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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                      MARSHALL DIVISION


 ESTHER CORONADO                                 §

 v.                                              §      CIVIL ACTION NO. 2:06cv24
                                                            (Crim. No. 2:03cr7)
 UNITED STATES OF AMERICA                        §


             MEMORANDUM ADOPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                       AND ENTERING FINAL JUDGMENT


                The Movant Esther Coronado, proceeding pro se, filed this motion to vacate or

 correct her sentence under 28 U.S.C. §2255. This Court ordered that the case be referred to the

 United States Magistrate Judge pursuant to 28 U.S.C. §636(b)(1) and (3) and the Amended Order

 for the Adoption of Local Rules for the Assignment of Duties to United States Magistrate Judges.

                Coronado was convicted on December 29, 2003, of possession with intent to

 distribute methamphetamine and use and carrying of a firearm in relation to a drug trafficking

 offense, receiving a total sentence of 177 months. She pleaded guilty and did not take a direct appeal

 of her conviction or sentence, which sentence was imposed on January 7, 2004.

                Coronado says in her motion to vacate sentence that she did not take a direct appeal,

 explaining that her attorney was satisfied with the sentence that she received. However, she asks that

 the Court vacate her sentence or resentence her by removing all enhancement or upward departures

 that may have imposed a higher sentence or placed her on a higher offense level. In support of her

 request, Coronado cites United States v. Booker, 125 S.Ct. 738 (2005), Blakely v. Washington, 124

 S.Ct. 2531 (2004), and Apprendi v. New Jersey, 530 U.S. 466 (2000). Coronado also contends that

 she received ineffective assistance of counsel because her attorney, Tonda Curry, refused to take a

 direct appeal for her, and that she did not receive credit for acceptance of responsibility.
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                After review of Coronado’s claims, the Magistrate Judge issued a Report

 recommending that the motion to vacate or correct sentence be denied. The Magistrate Judge

 determined that Coronado’s claims under Blakely and Booker were without merit because cases do

 not operate retroactively, and that her remaining claims are barred by the one-year statute of

 limitations set out in 28 U.S.C. §2255. The Magistrate Judge also noted that Coronado signed a

 waiver of appeal as part of her plea bargain, that she had failed to show that she received ineffective

 assistance of counsel, and that her complaint about not receiving credit for acceptance of

 responsibility, besides being barred by limitations, was not cognizable under Section 2255.

 Consequently, the Magistrate Judge recommended that Coronado’s motion to vacate or correct
 sentence be denied.

                Coronado filed objections to the Magistrate Judge’s Report on March 29, 2006. In

 her objections, Coronado says that she was never told that she was waiving her right to appeal or to

 seek collateral relief. She says that her attorney would not receive any of her phone calls, that she

 never got any letters from her attorney, and she never saw her pre-sentence report.

                Coronado goes on to say that she is seeking a way to reduce her sentence because her

 children need her. She says that she knows that her husband and her son-in-law’s cousins are

 trafficking in drugs as well as guns, and that she has names of people who do “a lot of very big drug

 deals.” She asks how she can receive a reduction in her sentence and “prays for mercy.”

                Coronado did not allude to the non-retroactivity of Booker and Blakely, nor to the

 issue of the statute of limitations. The waiver of appeal which she signed is contained in the plea

 bargain agreement. Even if Coronado is correct that she did not understand the significance of the

 agreement which she signed, this claim is barred by the statute of limitations. To the extent that

 Coronado says that she has information which may be of interest to the Government, she should

 contact the U.S. Attorney for the Eastern District of Texas to explore any options for seeking a

 sentence reduction which may be available. Coronado has not shown that the Magistrate Judge erred

 and her objections to the Magistrate Judge’s Report are without merit.
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                The Court has conducted a careful de novo review of the pleadings in this cause,

 including the original motion to vacate sentence, the Report of the Magistrate Judge, the Movant’s

 objections thereto, and all pleadings, documents, and records in the case. Upon such de novo review,

 the Court has concluded that the Report of the Magistrate Judge is correct and that the Petitioner's

 objections are without merit. It is accordingly

                ORDERED that the Movant’s objections are overruled and that the Report of the

 Magistrate Judge is ADOPTED as the opinion of the District Court. It is further

                ORDERED that the above-styled motion to vacate or correct sentence be and hereby

 is DISMISSED with prejudice. It is further
                ORDERED that any and all motions which may be pending in this action are hereby

 DENIED.

                SIGNED this 9th day of May, 2006.



                                                      __________________________________________
                                                      T. JOHN WARD
                                                      UNITED STATES DISTRICT JUDGE
